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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
Robert Ward, on his own behalf and on behalf       :
of all others similarly situated,                  :
                                                   :
                      Plaintiff,                   :
v.                                                 : Civil Action No.: 2:17-cv-02069-MMB
                                                   :
Flagship Credit Acceptance LLC,                    :
                                                   :
                      Defendant                    :
                                                   :
                                                   :
                                                   :

        MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiff Robert Ward (“Plaintiff”), by and through his undersigned counsel, hereby move

for entry of an Order granting final approval of the Parties’ class action Settlement Agreement.

       In support, Plaintiff submits the accompanying Memorandum of Law in Support of

Motion for Final Approval of Class Action Settlement and the declaration from the settlement

administrator.

       Plaintiff respectfully requests that the Court (1) enter the Final Approval Order in the

form agreed to by the Parties as Exhibit 2 to the Settlement Agreement and submitted herewith

as Exhibit A to this motion and (2) enter the Final Judgment and Dismissal with Prejudice in the

form agreed to by the Parties as Exhibit 5 to the Settlement Agreement and submitted herewith

as Exhibit B.

Dated: March 19, 2019                                 Respectfully submitted,


                                                     Robert Ward, individually and on behalf of all
                                                     others similarly situated,

                                             By:     /s/ Stephen Taylor
                                                     Sergei Lemberg
                                                     Stephen Taylor
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                                 CERTIFICATE OF SERVICE

       I, Stephen Taylor, an attorney, certify that, on March 19, 2019, the foregoing was filed
with the Clerk of the Court through the CM/ECF system which sent notice of such filing to the
following:

Gerald E. Arth
Steven J. Daroci, II
Fox Rothschild LLP
2000 Market Street, 20th Floor
Philadelphia, PA 19103




                                                    /s/ Stephen Taylor
                                                    Stephen Taylor
